           Case 2:23-cv-04498-PA                        Document 1                Filed 06/05/23            Page 1 of 9 Page ID #:1

         0LFKDHO'HYHUHX[ 6%1
 NAME

 1&DPGHQ'ULYH6XLWH
 PRISON IDENTIFICATION/BOOKING NO.
   %HYHUO\+LOOV&DOLIRUQLD
 ADDRESS OR PLACE OF CONFINEMENT

     PLNH#ZH[ODZ
 Note:     If represented by an attorney, provide name, address & telephone
           number. It is your responsibility to notify the Clerk of Court in
           writing of any change of address.

                                                 UNITED STATES DISTRICT COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA,                                                         CASE NUMBER:

                                                                     Plaintiff,       CV       2:23-mc-00081
                                                                                             To be supplied by the Clerk of the United States District Court


                                       v.
                                                                                      CR       &53$
   0LFKDHO0LUDQGR                                                                           Criminal case under which sentence was imposed.

 FULL NAME OF MOVANT
 (Include name under which you were convicted)
                                                                                             MOTION TO VACATE, SET ASIDE OR
                                                                   Petitioner.
                                                                                            CORRECT SENTENCE BY A PERSON IN
                                                                                                   FEDERAL CUSTODY
                                                                                                     28 U.S.C § 2255




                                                      INSTRUCTIONS - READ CAREFULLY

This motion must be legibly handwritten or typewritten and signed by the movant under penalty of perjury. Any false statement of a
material fact may serve as the basis for prosecution and conviction for perjury. All questions must be answered concisely in the
proper space onthe form. Where more room is needed to answer any questions use reverse side of sheet.

Additional pages are not permitted. No citation or authorities need be furnished. If briefs or arguments are submitted, they should
besubmitted in the form of a separate memorandum.

Upon receipt, your motion will be filed if it is in proper order. NO FEE is required with this motion

If you do not have the necessary funds for transcripts, counsel, appeal, and other costs connected with a motion of this type, you may
requestpermission to proceed LQIRUPDSDXSHULV, in which event you must execute the declaration on the last page, setting forth
informationestablishing your inability to pay costs. If you wish to proceed LQIRUPDSDXSHULV, you must have an authorized officer at
the penal institutioncomplete the certificate as to the amount of money and securities on deposit to your credit in any account in the
institution.

Only judgments entered by one court may be challenged in a single motion. If you seek to challenge judgments entered by different
judgesor divisions either in the same district or in a different district, you must file separate motions as to each judgment.

Your attention is directed to the fact that you must include all grounds for relief and all facts supporting such grounds for relief in the
motionyou file seeking relief from any judgment of conviction.

When the motion is fully completed, the original and three (3) copies must be mailed to the Clerk of the United States District Court,
whoseaddress is (DVW7HPSOHStreet,6XLWH76 Los Angeles, California 90012.


CV-67 (0/)                                                               MOTION                                                                      Page1of
                                                                         28 U.S.C § 2255
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                                                      027,21


  1. Name and location of court WKDW entered judgment of conviction under attack:         8QLWHG6WDWHV'LVWULFW&RXUW
     &HQWUDO'LVWULFWRI&DOLIRUQLD/RV$QJHOHV

2. Date of judgment of conviction:      -XGJPHQWGDWHGDQGHQWHUHGRQ
3. Length of sentence: PRQWKVVXSHUYLVHGUHOHDVH\HDUVSentencing judge: +RQ3HUF\$QGHUVRQ
4. Nature of offense or offenses for which you were convicted: 86&+HDOWK&DUH)UDXG




5. What was your plea? (check one)
    G
    ; Not guilty
    G Guilty
    G Nolo Contendere

    If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment, give details:




6. Kind of trial: (check one)
    G
    ; Jury
    G Judge only

7. Did you testify at the trial?
    G Yes        ; No
                 G


8. Did you appeal from the judgment of conviction?
    G
    ; Yes        G No


&9                                                  MOTION                                                    Page2of
                                                          28 U.S.C § 2255
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9. If you did appeal, answer the following:
                        1LQWK&LUFXLW&RXUWRI$SSHDOV&DVH1RV 
    (a) Name of court
    (b) Result    $IILUPHGDQGUHPDQGHGIRUVHQWHQFLQJDIILUPHG


    (c) Date of result $IILUP866&FHUWGHQLHGPDQGDWHLVVXHG
 Other than a direct appeal from the judgment of conviction and sentence, have you previously filed any petitions,
    applications or motions with respect to this judgment in any federal court?

         G Yes           ; No
                         G
 If your answer to question number 10 was “yes” give the following information:
     D (1) Name of Court
           Nature of proceeding


         (3) Grounds raised


           Did you receive an evidentiary hearing on your petition, application or motion?
               G Yes     G No
           Result


         (6) Date of result
    (b) (1) Name of Court
         (2) Nature of proceeding


         (3) Grounds raised


           Did you receive an evidentiary hearing on your petition, application or motion?
               G Yes     G No
           Result


         (6) Date of result
    (c) (1) Name of Court
         (2) Nature of proceeding


         (3) Grounds raised


           Did you receive an evidentiary hearing on your petition, application or motion?
               G Yes     G No

&9                                               MOTION                                             Page3of
                                                       28 U.S.C § 2255
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         (5) Result


         (6) Date of result
     G Did you appeal, to an appellate federal court having jurisdiction, the results of action taken on any petition,
       application or motion?

           First petition, etc.   G Yes G No
           Second petition, etc. G Yes G No
           Third petition, etc.G YesG No
    H If you did not appeal from the adverse action on any petition, application or motion, explain briefly why you did not:




 State concisely every ground on which you claim that you are being held unlawfully.

    CAUTION: If you fail to set forth all grounds in this motion, you may be barred from presenting additional grounds
    at a later date. For your information, the following is a list of the most frequently raised grounds for relief in thLV
    W\SHRIproceeding. Each statement preceded E\Dletter constitutes a separate ground for possible relief. You may raise
    any groundsWKDWyou haveZKHWKHUlistedEHORZRUQRW. However, you should raise in this motion all available
    grounds (relating to thisconviction) on which you base your allegations that you are being held in custody unlawfully.

    If you select one or more of the grounds OLVWHGEHORZfor relief, you must allege facts in support of the grounds \RX
    VHOHFW. Thepetition will be returned to you if you merely check (a) through (j) or any one RUPRUHof these grounds
    ZLWKRXWDOOHJLQJIDFWVLQVXSSRUW.

          D Conviction obtained by plea of guilty WKDW was unlawfully induced or not made voluntarily or with
            understanding of the nature of the charge and the consequences of the plea.

          E Conviction obtained by use of coerced confession.
          F Conviction obtained by use of evidence gained pursuant to an unconstitutional search and seizure.
          G Conviction obtained by use of evidence obtained pursuant to an unlawful arrest.
          H Conviction obtained by violation of the privilege against self-incrimination.
          I Conviction obtained by the unconstitutional failure of the prosecution to disclose to the defendant evidence
               favorable to the defendant.
          J Conviction obtained by a violation of the protection against double jeopardy.
          K Conviction obtained by action of a grand or petit jury which was unconstitutionally selected and impaneled.
          L    Denial of effective assistance of counsel.
          M    Denial of right of appeal.




&9                                                    MOTION                                                Page4of
                                                            28 U.S.C § 2255
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    A. Ground one: 'HQLDO(IIHFWLYH$VVLVWDQFHRI&RXQVHO7ULDO&RXQVHO:RXOG1RW3HUPLW'HIHQGDQWWR7HVWLI\
     LQYLRODWLRQRI6L[WK$PHQGPHQWDQG86Y6WULFNODQGDQG86Y-RHOVRQ
    Supporting facts (tell your story briefly without citing cases or law):   6HHPHPRUDQGXPLQVXSSRUWRIPRWLRQ




    B. Ground two:     7ULDOFRXQVHOSHUIRUPHGGHILFLHQWO\SUHMXGLFLQJ0U0LUDQGRE\VLJQLILFDQWO\
    GLPLQLVKLQJKLVFKDQFHVRIDFTXLWWDOLQYLRODWLRQRI86Y6WULFNODQG86 
    Supporting facts (tell your story briefly without citing cases or law): 6HHPHPRUDQGXPLQVXSSRUWRIPRWLRQ




    C. Ground three:


    Supporting facts (tell your story briefly without citing cases or law):




    D. Ground four:


    Supporting facts (tell your story briefly without citing cases or law):




13. If any of the grounds listed in 12 A, B, C RUD were not previously presented, state briefly what grounds were not
    presented, and give your reasons for not presenting them: WK$PHQGPHQWULJKWWRWHVWLI\         6WULFNODQG
     FODLPVDUHSURSHUO\EURXJKWLQ6HFWLRQPRWLRQ

14. Do you have any petition or appeal now pending in any court as to the judgment under attack?
    G Yes       G;No




&9                                                MOTION                                              Page 5 of 
                                                        28 U.S.C § 2255
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 Give the name and address, if known, of each attorney who represented you in the following stages of the judgment
    attacNed herein:
     D At a preliminary hearing:


    (b) At arraignment and plea: .HYLQ0F'HUPRWW1HZSRUW3ODFH'ULYH6XLWH1HZSRUW
     %HDFK&DOLIRUQLD
    (c) At trial: .HYLQ0F'HUPRWW1HZSRUW3ODFH'ULYH6XLWH1HZSRUW%HDFK&$


    (d) At sentencing:    (GZDUG5RELQVRQ+DZWKRUQH%RXOHYDUG6XLWH7RUUDQFH

    (e) On appeal: -DPHV6SHUWXV6%XQG\'ULYH6XLWH/RV$QJHOHV&$


    (f) In any post-conviction proceeding: -RVKXD:HLVV)3'(QG6WUHHW/RV$QJHOHV&$


    (g) On appeal from any adverse ruling in a post-conviction proceeding:


 Were you sentenced on more than one count of an indictment, or on more than one indictment, in the same court at
    approximately the same time?

    G Yes        G;No
 Do you have any future sentence to serve after you complete the sentence imposed by the judgment under attack?
    G Yes        ; No
                 G
 D If so, give the name and location of the court WKDW imposed sentence to be served in the future:


    (b) Give the date and length of sentence to be served in the future:


    (c) Have you filed, or do you contemplate filing, any petition attacking the judgment which imposed sentence to be
        served in the future?

         G Yes           G No

    WHEREFORE, movant prays that the court grant him all relief to which he may be entitled in this proceeding.

                                                            V0LFKDHO'HYHUHX[FRXQVHOIRU0LFKDHO0LUDQGR
                                                                                  Signature of Attorney (if any)

    I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct.


    Executed on 6HH5XOH E  RI5XOHV*RYHUQLQJ6HFWLRQ3URFHHGLQJV
                              Date                                                    Signature of Movant




&9                                                 MOTION                                                 Page 6 of 
                                                         28 U.S.C § 2255
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                                          28 U.S.C § 2255
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                                                                              DECLARATION IN SUPPORT
                          Petitioner                                                 OF REQUEST
                                                                                     TO PROCEED
                                                                                 ,1)250$3$83(5,6
                         Respondent(s)



     I,                                                          , declare that I am the petitioner in the above entitled
case; that in support of my motion to proceed without being required to prepay fees, costs or give security therefor, I state
that because of my poverty I am unable to pay the costs of said proceeding or to give security therefor; that I believe I am
entitled to relief.

1. Are you presently employed? G Yes          G No

    a. If the answer is yes, state the amount of your salary or wages per month, and give the name and address of your
         employer.


    b. If the answer is no, state the date of last employment and the amount of the salary and wages per month which
         you received.


2. Have you received, within the past twelve months, any money from any of the following sources?
    a. Business, profession or form of self-employment?               G Yes    G No
    b. Rent payments, interest or dividends?                          G Yes    G No
    c. Pensions, annuities or life insurance payments?                G Yes    G No
    d. Gifts or inheritances?                                         G Yes    G No
    e. Any other sources?                                             G Yes    G No

    If the answer to any of the above is yes, describe each source of money and state the amount received from each
    during the past twelve months:



3. Do you own any cash, or do you have money in a checking or savings account? (Include any funds in prison
   accounts) G Yes G No

    If the answer is yes, state the total value of the items owned:



4. Do you own any real estate, stocks, bonds, notes, automobiles, or other valuable property? (Excluding ordinary
   household furnishings and clothing) G Yes G No

    If the answer is yes, describe the property and state its approximate value:




&9                                                MOTION                                                    Page  of 
                                                        86&
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5. List the persons who are dependent upon you for support, state your relationship to those persons, and indicate how
     much you contribute toward their support:




     I declare (or certify, verify or state) under penalty of perjury that the foregoing is true and correct.




     Executed on
                               Date                                                    Signature of Petitioner




                                                       CERTIFICATE


    I hereby certify that the Petitioner herein has the sum of $                                          on account to his credit
at the                                                                                                            institution where
he is confined. I further certify that Petitioner likewise has the following securities to his credit according to the records of
said institution:




                    Date                                                      Authorized Officer of Institution




                                                                                       Title of Officer




&9                                                MOTION                                                         Page of 
                                                        28 U.S.C § 2255
